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                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA

   SONY MUSIC ENTERTAINMENT, et al.,

                         Plaintiffs,
                                                     Case No. 1:18-cv-00950-LO-JFA
                   v.

   COX COMMUNICATIONS, INC., et al.,

                         Defendants.


             ORDER GRANTING DEFENDANTS’ SECOND MOTION TO COMPEL

            Before this Court is Defendants Cox Communications, Inc.’s and CoxCom, LLC’s

  (collectively, “Cox”) Motion to Compel (“Motion”). After considering this Motion and the related

  filings, the Court is of the opinion that the Motion should be, and it hereby is, GRANTED. The

  Court hereby orders Plaintiffs Sony/ATV and EMI to produce information related to the works-

  in-suit from their termination database including any related valuations and further compels

  Plaintiffs to search for and produce any similar information maintained by the other plaintiff

  groups.

  ENTERED this _______ of _________________, 2019.



  Alexandria, Virginia                                  ____________________________
                                                        The Honorable John F. Anderson
                                                        United States Magistrate Judge




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